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15                                UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17                                       SAN JOSE DIVISION

18

19   CONCORD MUSIC GROUP, INC., ET AL.,                Case Number: 5:24-cv-03811-EKL-SVK

20          Plaintiffs,                                NOTICE OF PLAINTIFFS’
            v.                                         TECHNOLOGY TUTORIAL
21                                                     DEMONSTRATIVES
22   ANTHROPIC PBC,
                                                       Hon. Eumi K. Lee
23          Defendant.                                 Hon. Susan van Keulen

24

25          Pursuant to the Court’s Minute Entry requesting submission of the parties’ PowerPoint
26   presentations, ECF No. 265, Plaintiffs hereby file their demonstratives used during the November
27   21, 2024 technology tutorial hearing.
28
                                                                          Case No. 5:24-cv-03811-EKL-SVK
                                               NOTICE OF PLAINTIFFS’ TECHNOLOGY TUTORIAL DEMONSTRATIVES
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 1   Dated: November 25, 2024              Respectfully submitted,

 2                                         /s/ Timothy Chung
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